907 F.2d 1138Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry W. JENNINGS, Plaintiff-Appellant,v.Christopher WEBB;  F.L. Bogart;  Girard V. Thompson, Sr.;Dr. Walker;  Dr. Amonette, Defendants-Appellees.
    No. 90-6315.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 4, 1990.Decided June 15, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (C/A No. 89-884-R)
      Larry W. Jennings, appellant pro se.
      Janette Dian Rogers, Office of the Attorney General of Virginia, Edward Meade Macon, McGuire, Woods, Battle &amp; Boothe, Richmond, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Larry W. Jennings appeals the district court's dismissal of this 42 U.S.C. Sec. 1983 action for failure to pay the assessed filing fee.  Finding that the district court complied with the procedures approved in Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and did not abuse its discretion in dismissing the action without prejudice, we affirm the judgment.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    